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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                                :
STATE OF NEW YORK, et al.,                                                      :
                                                                                :
                                    Plaintiffs,                                 :
                                                                                :    18-CV-2921 (JMF)
                  -v-                                                           :
                                                                                :     MEMORANDUM
UNITED STATES DEPARTMENT OF COMMERCE, et al.,                                   :   OPINION AND ORDER
                                                                                :
                                    Defendants.                                 :
                                                                                :
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JESSE M. FURMAN, United States District Judge:

        On July 8, 2019, Defendants filed a “Notice of Motion to Withdraw as Counsel” advising

the Court that, “going forward,” Defendants “will be represented in this matter by different counsel

from the Department of Justice,” and seeking leave for eleven attorneys from the Department of

Justice — many of whom have represented Defendants since this case began in early 2018 — to

withdraw. 18-CV-2921, Docket No. 618; see 18-CV-2921, Docket No. 42. 1 Defendants assert,

without elaboration, that they “do not expect that withdrawal of current counsel will cause any

disruption in this matter.” 18-CV-2921, Docket No. 618. The same day, Plaintiffs filed a response

to Defendants’ Notice of Motion. See 18-CV-2921, Docket No. 619.

        Rule 1.4 of the Local Rules of the United States District Courts for the Southern and Eastern

Districts of New York governs the withdrawal of counsel. Rule 1.4 provides, in relevant part:

        An attorney who has appeared as attorney of record for a party may be relieved or
        displaced only by order of the Court and may not withdraw from a case without
        leave of the Court granted by order. Such an order may be granted only upon a

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        Notably, this is not the first time that lawyers from the Department of Justice have sought to
withdraw from this litigation. In August 2018, lawyers from the United States Attorney’s Office for
the Southern District of New York — “the office that normally represents the Government in this
District” — withdrew as counsel for Defendants. New York v. U.S. Dep’t of Commerce, 345 F.
Supp. 3d 444, 448 n.2 (S.D.N.Y. 2018); see 18-CV-2921, Docket Nos. 227, 233.
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       showing by affidavit or otherwise of satisfactory reasons for withdrawal or
       displacement and the posture of the case, including its position, if any, on the
       calendar, and whether or not the attorney is asserting a retaining or charging lien.

Local Civ. R. 1.4. Thus, when considering whether to grant a motion to withdraw under Rule 1.4, a

court must analyze two factors: the reasons for withdrawal and the impact of the withdrawal on the

timing of the proceeding. See, e.g., Winkfield v. Kirschenbaum & Phillips, P.C., No. 12-CV-7424

(JMF), 2013 WL 371673, at *1 (S.D.N.Y. Jan. 29, 2013). With respect to the latter factor, a court

must consider “the posture of the case” and “whether the prosecution of the suit is likely to be

disrupted by the withdrawal of counsel.” Whiting v. Lacara, 187 F.3d 317, 320-21 (2d Cir. 1999)

(per curiam) (alteration and internal quotation marks omitted).

       Measured against those standards, Defendants’ motion is patently deficient (except as to

Brett Shumate and Alice LaCour, who have left the Department of Justice and the Civil Division,

respectively). Defendants provide no reasons, let alone “satisfactory reasons,” for the substitution

of counsel. Local Civ. R. 1.4. And as to the second factor, Defendants’ mere “expect[ation] that

withdrawal of current counsel will [not] cause any disruption” is not good enough, particularly

given the circumstances of this case: Defendants’ opposition to Plaintiffs’ most recent motion is due

in just three days, see 18-CV-2921, Docket No. 617; Defendants’ opposition to Plaintiffs’

anticipated motion for sanctions is due later this month, see 18-CV-2921, Docket No. 605; and, in

the event that Defendants seek to add the citizenship question to the 2020 census questionnaire

based upon a “new rationale,” 18-CV-2921, Docket No. 613, time would plainly be of the essence

in any further litigation relating to that decision, see id. (acknowledging the need for “expedit[ed]

litigation” in that event). As this Court observed many months ago, this case has been litigated on

the premise — based “in no small part” on Defendants’ own “insist[ence]” — that the speedy

resolution of Plaintiffs’ claims is a matter of great private and public importance. New York, 345 F.

Supp. 3d at 446; see also, e.g., New York v. U.S. Dep’t of Commerce, 351 F. Supp. 3d 502, 517,


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626-27 (S.D.N.Y. 2019); New York v. U.S. Dep’t of Commerce, 333 F. Supp. 3d 282, 292 (S.D.N.Y.

2018); New York v. U.S. Dep’t of Commerce, 339 F. Supp. 3d 144, 148-49, 150-51 (S.D.N.Y.

2018). If anything, that urgency — and the need for efficient judicial proceedings — has only

grown since that time.

       Accordingly, Defendants’ motion is DENIED — without prejudice to renewal — as to all

counsel other than Mr. Shumate and Ms. LaCour, as to which the motion is GRANTED. Any new

motions to withdraw shall be supported by a signed and sworn affidavit from each counsel seeking

to withdraw (1) stating “satisfactory reasons” for withdrawing at this stage of the litigation and (2)

in light of Plaintiffs’ forthcoming motion for sanctions, see Docket No. 616, at 4 n.2, confirming

that (a) he or she submits to the jurisdiction of this Court with respect to that motion and any future

motions (or orders to show cause) regarding sanctions and (b) he or she will be available in the

event that the Court requires his or her attendance at any future hearings regarding such motions or

orders. In the event any new motion is filed, new counsel for Defendants shall also file an affidavit

providing unequivocal assurances that the substitution of counsel will not delay further litigation of

this case (or any future related case).

       The Clerk of Court is directed to docket this in 18-CV-2921 and 18-CV-5025, to terminate

Mr. Shumate and Ms. LaCour as counsel in both 18-CV-2921 and 18-CV-5025, and to terminate

18-CV-2921, Docket No. 618, and 18-CV-5025, Docket No. 173. 2


       SO ORDERED.

Dated: July 9, 2019                                __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge




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         Defense counsel are reminded that because 18-CV-2921 and 18-CV-5025 were consolidated
for all purposes, see 18-CV-2921, Docket No. 322, documents should be filed only in 18-CV-2921.

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